                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

UNITED STATES OF AMERICA,                       )
                                                )
              Plaintiff,                        )
                                                )
v.                                              )      No.:   3:13-CR-45-TAV-CCS-24
                                                )
SHEENA JEAN SNOW,                               )
                                                )
              Defendant.                        )


                      MEMORANDUM OPINION AND ORDER

        This criminal case is before the Court on the defendant’s motion for a sentence

reduction [Doc. 1437]. The defendant moves the Court to resentence her pursuant to 18

U.S.C. § 3582(c)(2) and in accordance with Amendment 782 and Amendment 788 to the

United States Sentencing Guidelines Manual. The government has responded [Doc.

1462], deferring to the Court’s discretion as to whether, and to what extent, to grant any

such reduction, subject to the limitations of 18 U.S.C. § 3582(c)(2) and section 1B1.10 of

the United States Sentencing Guidelines Manual.

I.      Standard of Review

        “Federal courts are forbidden, as a general matter, to modify a term of

imprisonment once it has been imposed, but the rule of finality is subject to a few narrow

exceptions.” Freeman v. United States, 131 S. Ct. 3685, 2690 (2011) (internal citation

and quotation marks omitted). One exception is identified in 18 U.S.C. § 3582(c)(2):




     Case 3:13-cr-00045-TAV-DCP      Document 1477       Filed 08/10/15    Page 1 of 8
                                     PageID #: 6088
       [I]n the case of a defendant who has been sentenced to a term of
       imprisonment based on a sentencing range that has subsequently been
       lowered by the Sentencing Commission . . . , the court may reduce the term
       of imprisonment, after considering the factors set forth in section 3553(a) to
       the extent that they are applicable, if such a reduction is consistent with
       applicable policy statements issued by the Sentencing Commission.

The United States Supreme Court has interpreted § 3582(c)(2) as setting forth two

requirements for a sentence reduction. First, “the defendant [must] ha[ve] been sentenced

to a term of imprisonment based on a sentencing range that has subsequently been

lowered by the Sentencing Commission[.]” United States v. Riley, 726 F.3d 756, 758

(6th Cir. 2013) (internal quotation marks and citation omitted). Second, “such reduction

[must be] consistent with applicable policy statements issued by the Sentencing

Commission.” Id. (internal quotation marks omitted). If the reviewing court determines

that the defendant is eligible for a sentence reduction, “[t]he court may then ‘consider

whether the authorized reduction is warranted, either in whole or in part, according to the

factors set forth in § 3553(a).’” United States v. Thompson, 714 F.3d 946, 949 (6th Cir.

2013) (quoting Dillon v. United States, 560 U.S. 817, 826 (2010)).

       In determining whether a defendant has been sentenced to a term of imprisonment

based on a sentencing range that has subsequently been lowered by the Sentencing

Commission, the Court must first determine “the amended guideline range that would

have been applicable to the defendant had the relevant amendment been in effect at the

time of the initial sentencing.” Dillon, 560 U.S. at 827 (internal quotation marks and

citation omitted); see also U.S. Sentencing Guidelines Manual § 1B1.10(b)(1). Other

than substituting Amendment 782 for the corresponding provision applicable when the
                                             2


   Case 3:13-cr-00045-TAV-DCP        Document 1477        Filed 08/10/15    Page 2 of 8
                                     PageID #: 6089
defendant was originally sentenced, the Court “shall leave all other guideline application

decisions unaffected.” Id. And the Court “shall not” reduce a defendant’s term of

imprisonment to a term “less than the minimum of the amended guideline range,” nor to a

term “less than the term of imprisonment the defendant has already served.” Id. §

1B1.10(b)(2)(A), (C).

         Section 1B1.10 provides an exception to the rule that a defendant may not receive

a sentence below the amended guideline range. Namely, if the defendant originally

received a below-guideline sentence “pursuant to a government motion to reflect the

defendant’s substantial assistance to authorities,” the Court may grant “a reduction

comparably less than the amended guideline range.”            U.S. Sentencing Guidelines §

1B1.10(b)(2)(B).

         In addition to these limits, section 1B1.10 states that a court must also consider the

§ 3553 factors and the danger to the public created by any reduction in a defendant’s

sentence. Id. at cmt. n.1(B). A court may further consider a defendant’s post-sentencing

conduct. Id.

II.      Factual Background

         The defendant pleaded guilty to and was convicted of conspiring to manufacture

50 grams or more of methamphetamine, in violation of 21 U.S.C. §§ 846, 841(a)(1), and

841(b)(1)(A) [Doc. 1124]. At the time of sentencing, the defendant was held responsible

for a marijuana equivalent of 1,180 kilograms [Doc. 1437 p. 2; Doc. 1462 p. 2]. Given

the amount of drugs for which the defendant was held responsible, the defendant’s base

                                               3


      Case 3:13-cr-00045-TAV-DCP        Document 1477        Filed 08/10/15    Page 3 of 8
                                        PageID #: 6090
offense level was 32 [Id.]. The defendant qualified for the safety valve provisions of

section 5C1.2 of the Guidelines and received a 2-level reduction [Doc. 1437 p. 2; Doc.

1462 p. 2–3].      She received an additional 3-level reduction for acceptance of

responsibility, resulting in a total offense level of 27 [Id.].    Given the defendant’s

criminal history category of I, the defendant’s applicable guideline range was 70 to 87

months’ imprisonment [Doc. 1437 p. 2; Doc. 1462 p. 3].

       Although the defendant’s offense of conviction carried a mandatory minimum

term of imprisonment of 20 years, she was eligible to be sentenced without regard to the

mandatory minimum term of imprisonment due to the operation of the safety valve

provisions of 18 U.S.C. § 3553(f) [Id.]. Before sentencing, the government moved for a

downward departure pursuant to section 5K1.1 of the Sentencing Guidelines [Id.]. The

Court granted that motion and sentenced the defendant to 48 months’ imprisonment,

which is 31 percent below the defendant’s original guideline range [Id.]. According to

the parties, the defendant is presently scheduled for release on December 8, 2016 [Id.].

III.   Analysis

       Amendment 782 to the Guidelines, which became effective on November 1, 2014,

revised the Guidelines applicable to drug-trafficking offenses by reducing by 2 levels the

offense levels assigned to the drug quantities described in section 2D1.1.            U.S.

Sentencing Guidelines Manual App. C, amend. 782.            Amendment 782 also makes

corresponding changes to section 2D1.11. Amendment 788, which became effective on




                                             4


   Case 3:13-cr-00045-TAV-DCP        Document 1477        Filed 08/10/15    Page 4 of 8
                                     PageID #: 6091
November 1, 2014, as well, identified Amendment 782 as retroactive. U.S. Sentencing

Guidelines Manual App. C, amend. 788.

       Applying Amendment 782, the defendant’s revised base offense level is 30, and

affording the defendant the same adjustments the defendant originally received, the

defendant’s new total offense level is 25.       U.S. Sentencing Guidelines Manual §

1B1.10(b)(1). A total offense level of 25 and a criminal history category of I results in an

amended guideline range of 57 to 71 months’ imprisonment. Thus, the defendant was

sentenced to a term of imprisonment based on a sentencing range that has subsequently

been lowered by the Sentencing Commission.

       Next, the Court must determine whether a sentence reduction is consistent with

applicable policy statements issued by the Sentencing Commission. See U.S. Sentencing

Guidelines Manual § 1B1.10.        “[T]o satisfy the second requirement, a guidelines

amendment must have had the effect of lowering the defendant’s applicable guideline

range.” Riley, 726 F.3d at 758 (internal quotation marks and citations omitted). As

discussed, that is the case here. And it would be consistent with the applicable policy

statements to sentence the defendant below the “minimum of the amended guideline

range” because the defendant originally received a sentence below the guideline range

“pursuant to a government motion to reflect the defendant’s substantial assistance to

authorities.” U.S. Sentencing Guidelines Manual § 1B1.10(b)(2)(A), (B).




                                             5


   Case 3:13-cr-00045-TAV-DCP        Document 1477        Filed 08/10/15    Page 5 of 8
                                     PageID #: 6092
       The Court now turns to the § 3553(a) factors in determining whether and to what

extent the defendant’s sentence may be reduced.           As an initial matter, the Court

determines that factors similar to the ones that applied at the defendant’s initial

sentencing also apply at this time. In regard to these factors and in the context of the

instant motion, the Court considers the nature and circumstances of the defendant’s

offense—conspiracy to manufacture 50 grams or more of methamphetamine—and her

role in the offense, along with her history and characteristics.

       The Court also considers the need for the sentence imposed to reflect the

seriousness of the offense, to promote respect for the law, to provide just punishment for

the offense, to afford adequate deterrence, to protect the public from further crimes of the

defendant, and to provide the defendant with needed education and training, medical

care, or other correctional treatment.1 Further, the Court considers the kinds of sentences

available and the sentencing range, the need to avoid unwarranted disparities, and the

need to provide restitution to any victims. See 18 U.S.C. § 3553(a).

       Regarding the defendant’s post-sentencing conduct and the risk of danger to the

community resulting from a sentence reduction, the Court notes that according to the

government, the defendant has incurred two disciplinary sanctions while incarcerated:

one for being in an unauthorized area in October 2014 and another for being absent from

assignment in December 2014 [Doc. 1462 p. 4]. The government states that it has no


       1
         The Court, however, is not intending to, and is not, imposing or lengthening the
defendant’s sentence to enable the defendant to complete a treatment program or otherwise
promote rehabilitation. See generally Tapia v. United States, 131 S. Ct. 2382 (2011).
                                                6


   Case 3:13-cr-00045-TAV-DCP         Document 1477        Filed 08/10/15   Page 6 of 8
                                      PageID #: 6093
other information to present in opposition to a sentence reduction [Id]. Thus, it does not

appear that a sentence reduction will create an inordinate risk of danger to any person or

the community, and the Court concludes that the defendant’s post-sentencing conduct

should not disqualify her from receiving a sentence reduction. See U.S. Sentencing

Guidelines Manual § 1B1.10, cmt. n.1(B).

      After considering section 1B1.10 and the relevant § 3553(a) factors, the Court

finds that a reduction in the defendant’s sentence is appropriate. The Court will reduce

the defendant’s sentence in accordance with the amended guideline range and by an

amount “comparably less than the amended guideline range.”                  U.S. Sentencing

Guidelines Manual § 1B1.10(b)(2)(B).       In making this determination, the Court is

particularly influenced by the changes in offense levels resulting from Amendment 782.

The Court has also taken into consideration the risk that the defendant poses to public

safety, the nature and circumstances of the defendant’s offense, the defendant’s personal

history and characteristics, and the defendant’s post-sentencing conduct.

IV.   Conclusion

      For these reasons, the defendant’s motion [Doc. 1437] is GRANTED, and the

defendant’s sentence is REDUCED to 39 months’ imprisonment. If this sentence is

less than the amount of time the defendant has already served, the sentence shall be

reduced to a “time served” sentence.            U.S. Sentencing Guidelines Manual §

1B1.10(b)(2)(C).




                                            7


   Case 3:13-cr-00045-TAV-DCP        Document 1477       Filed 08/10/15      Page 7 of 8
                                     PageID #: 6094
      Except as otherwise provided in this order, all provisions of the judgment dated

February 21, 2014 [Doc. 1124], shall remain in effect. The effective date of this order is

November 2, 2015. U.S. Sentencing Guidelines Manual § 1B1.10(e)(1).

      IT IS SO ORDERED.



                                  s/ Thomas A. Varlan
                                  CHIEF UNITED STATES DISTRICT JUDGE




                                            8


   Case 3:13-cr-00045-TAV-DCP       Document 1477        Filed 08/10/15    Page 8 of 8
                                    PageID #: 6095
